511 F.2d 132
    Dr. Herman EGER, Petitioner-Appellant,v.STATE OF FLORIDA, Respondent-Appellee.
    No. 74--3899 Summary Calendar.*
    United States Court of Appeals,Fifth Circuit.
    April 9, 1975.
    
      Herman Eger, pro se.
      Joel D. Rosenblatt, Asst. Atty. Gen., Miami, Fla., for respondent-appellee.
      Appeal from the United States District Court for the Southern District of Florida.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant Eger was convicted in a Florida court of the unlawful practice of dentistry.  After exhausting his state remedies, he petitioned the District Court for the Southern District of Florida for a writ of habeas corpus, alleging procedural deficiencies in his state court conviction, unconstitutional vagueness in Fla.Stat.Ann. §§ 466.02, 466.04, and an unconstitutional denial of full faith and credit to his licenses to practice dentistry in other states.  The district court denied habeas relief.  After a careful review of the record and briefs, we deny appellant's motion for appointment of counsel and affirm the judgment entered below.
    
    
      2
      Affirmed.
    
    
      
        *
         Rule 18, 5 Cir., Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    